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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA

WALT DISNEY PARKS AND RESORTS
U.S., INC.,

                     Plaintiff,

       v.

RONALD D. DESANTIS, et al.,
                                               Case No. 4:23-cv-00163-AW-MJF
       Defendants.


        JOINT REPORT OF THE PARTIES’ R. 26(f) CONFERENCE

 I.   CONFERENCE OF THE PARTIES

      Pursuant to Federal Rule of Civil Procedure 26(f) and this Court’s June 2,

2023 Scheduling Order (ECF No. 48), a meeting of counsel was held by

videoconference on June 15, 2023. This meeting was attended by counsel for

Plaintiff and Defendants. As directed in the June 2 Order, counsel addressed the

matters set out in Rules 16(b)(3)(A), 16(b)(3)(B), 16(c)(2), 26(f)(2), and 26(f)(3).

II.   DISCOVERY PLAN

            a. Timing and phasing of discovery:

                  i. Plaintiff’s position is that the parties should proceed to conduct

                     discovery in accordance with the Local Rules and Federal Rules

                     of Civil Procedure, including conferring in good faith on issues

                     that may arise relating to discovery.

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               1. Plaintiff proposes the following schedule:

                     a. Exchange Initial Disclosures pursuant to Fed. R.

                        Civ. P. 26(a)(1) by 21 days after submission of this

                        Joint Report – July 18, 2023.

                     b. Fact discovery completed by January 15, 2024.

                     c. Expert disclosures made no later than January 15,

                        2024, and expert discovery completed by March

                        15, 2024.

               2. Plaintiff opposes staying discovery during the pendency

                  of Defendants’ motions to dismiss. “Generally, motions

                  to stay discovery are disfavored by the Court because

                  stays typically delay resolution of a case and extend the

                  life of a case beyond an acceptable time period.”

                  McMillan v. Dep’t of Corr., 2013 WL 11762140, at *2

                  (N.D. Fla. Oct. 21, 2013). The party seeking a stay

                  “bears the burden of showing good cause and

                  reasonableness.” Koock v. Sugar & Felsenthal, LLP,

                  2009 WL 2579307, at *2 (M.D. Fla. Aug. 19, 2009)

                  (citation omitted). Contrary to Defendants’ assertions,

                  “[t]he pendency of the motion to dismiss, by itself, does

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                  not supply good cause or reasonableness for the

                  requested stay.” White v. Venice HMA, LLC, 2022 WL

                  17417624, at *1 (M.D. Fla. Dec. 5, 2022). Instead, “the

                  court must balance the harm produced by a delay in

                  discovery against the possibility that the motion will be

                  granted and entirely eliminate the need for such

                  discovery.” Koock, 2009 WL 2579307, at *2.

               3. Here, staying discovery will cause substantial harm. The

                  gravamen of Plaintiff’s complaint is that Defendants have

                  violated Plaintiff’s fundamental rights by inflicting

                  ongoing retaliation for protected speech and impairing

                  contracts that remain impaired. The very relief Plaintiff

                  seeks is a declaratory judgment that the present state of

                  affairs is unconstitutional. This is precisely the case

                  where delayed discovery, and thus delayed adjudication

                  of the parties’ rights, causes harm.

               4. This harm is not justified by any “immediate and clear

                  possibility that” Defendants’ motions to dismiss or stay

                  will prevail. See id. To the contrary, the motions are

                  unlikely to be granted, for at least four reasons. First,

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                  Defendants ignore precedent establishing that a court

                  may consider a legislature’s retaliatory motive in

                  adjudicating a challenge to a targeted act of

                  retaliation. Second, Defendants assert no legitimate

                  defense to the outright abrogation of Plaintiff’s legitimate

                  and ordinary economic development contracts. Third,

                  neither the mandatory elements or discretionary factors

                  relevant to abstention under the Pullman doctrine are

                  satisfied here. Fourth, the State Defendants’ standing

                  and immunity arguments on their face do not justify a

                  stay of proceedings as to the CFTOD defendants, and

                  they are wrong on their merits because the State

                  Defendants have an instrumental role in the appointment

                  and ongoing supervision of what Plaintiff alleges is an

                  unlawfully constituted government entity.

        ii. Defendants’ position is that discovery should be stayed pending

            the outcome of Defendants’ motions to dismiss, which

            Defendants filed yesterday. If granted, the motions to dismiss

            would result in Plaintiff’s complaint being entirely dismissed,

            or, at the very least, a stay pending the outcome of state court

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            proceedings (which may also require the complaint to be

            dismissed). It is appropriate to stay discovery pending a

            dispositive motion where, as here, “a preliminary peek at the

            motions to dismiss reveals Defendants have raised meritorious

            challenges to the legal sufficiency of the” complaint. McCabe v.

            Foley, 233 F.R.D. 683, 687 (M.D. Fla. 2006); see also Tillman

            v. Ally Financial Inc., No. 2:16-cv-313-FtM-99CM, 2016 WL

            9488774, at *2-3 (M.D. Fla. Oct. 18, 2016) (similar). A stay of

            discovery would not materially harm the parties, who will

            proceed with discovery expeditiously in the event there are

            claims that survive the motions to dismiss, and it would avoid

            wasting resources related to discovery, including judicial

            resources, given “the possibility that the motion will be granted

            and entirely eliminate the need for … discovery.” Yerk v.

            People for the Ethical Treatment of Animals, No. 2:09-cv-537-

            FtM-29SPC, 2010 WL 1730754, at *1 (M.D. Fla. April 28,

            2010). Because Defendants believe discovery should be stayed

            pending the outcome of the motions to dismiss, Defendants also

            believe it is premature to set a schedule for discovery. If,

            however, the Court is inclined to set a discovery schedule,

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            Defendants propose the following schedule, which will provide

            sufficient time to litigate, in both this Court and the appellate

            courts, the important privilege and apex-doctrine issues that are

            bound to arise here, see infra § II.d:

                1. Exchange Initial Disclosures pursuant to Fed. R. Civ. P.

                   26(a)(1) by September 18, 2023.

                2. Fact discovery completed by January 3, 2025.

                3. Expert disclosures made no later than January 3, 2025,

                   and expert discovery completed by March 14, 2025.

   b. Subjects on which discovery may be needed: The parties expect

      discovery as to any facts raised in the Complaint or in responsive

      pleadings, as outlined in greater detail in § IV, below.

   c. Disclosure or discovery of electronically stored information:

         i. The parties will negotiate and propose to the Court an

            ESI/discovery protocol and a protective order to govern the

            production of documents and other information in this case.

         ii. The parties agree that productions shall include data and

            metadata reasonably available in the ordinary course of

            business, as further specified in the forthcoming ESI/discovery

            protocol.

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        iii. The parties agree to take reasonable measures to preserve

            potential evidence including potentially discoverable data from

            alteration or destruction.

        iv. The parties agree to the exchange of documents and

            information in the format to be specified in the forthcoming

            ESI/discovery protocol.

         v. The parties do not presently anticipate exceptional issues

            relating to the discovery of electronically stored information.

   d. Claims of privilege or work product protection:

         i. The parties will address claims of privilege and work product

            by production of privilege logs, as to be further specified in the

            ESI/discovery protocol. The parties do not anticipate any

            exceptional issues regarding work product, though the parties

            do anticipate disputes over legislative and executive privilege

            and the apex doctrine.

   e. Anticipated discovery:

         i. Plaintiff

               1. Plaintiff intends to seek document discovery and written

                   discovery from Defendants.



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                      2. Plaintiff intends to disclose expert witnesses and to seek

                          discovery of any expert witnesses disclosed by

                          Defendants.

                      3. Plaintiff will seek to depose Defendants, any experts

                          designated by Defendants, and any other fact witnesses

                          who may have relevant information related to Plaintiff’s

                          claims or Defendants’ defenses.

                      4. Plaintiff may seek third-party discovery from individuals

                          or entities with information relevant to Plaintiff’s claims

                          or Defendants’ defenses.

                ii. Defendants

                      1. Defendants believe it is premature to determine the scope

                          of anticipated discovery in light of the motions to dismiss

                          filed yesterday. The scope of discovery will be dictated

                          by the claims that remain following the disposition of

                          those motions, if any.

III.   PROPOSED CASE SCHEDULE

          a. Plaintiff proposes the following case schedule:

                i. Initial disclosures. The parties shall make initial disclosures

                   pursuant to Fed. R. Civ. P. 26(a)(1)(c) by July 18, 2023.

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        ii. As set forth above in § II(a), Plaintiff proposes that fact

            discovery be completed by January 15, 2024.

        iii. As set forth above in § II(a), Plaintiff proposes that expert

            disclosures be made no later than January 15, 2024, and expert

            discovery be completed March 15, 2024. The last day to file

            motions under R. 702 shall be April 1, 2024.

        iv. Plaintiff proposes that the last date for the parties to amend the

            pleadings or join parties will be December 31, 2023.

         v. Plaintiff proposes that early mediation may be beneficial in this

            case, and Plaintiff proposes a deadline of November 1, 2023,

            for mediation.

        vi. Plaintiff proposes that Motions for Summary Judgment and

            Motions for Judgment on the Pleadings shall be due April 1,

            2024.

       vii. Plaintiff submits that scheduling the pretrial conference,

            witness list, trial briefs, deposition designations, and final

            objections is at this time premature and shall be as required by

            the Court under the Court’s Pretrial Order or by other means.




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        viii. Plaintiff suggests that matters be referred to the assigned

              magistrate judge for initial determination, at the Court’s

              discretion.

         ix. Plaintiff anticipates ten days for trial.

          x. Plaintiff’s suggested trial date is July 15, 2024.

    b. Defendants believe it is premature to set a case schedule in light of the

       pending motions to dismiss, which may result in the complaint being

       entirely dismissed or significantly narrowed. Defendants propose

       that, in the event claims remain after a decision on the motions to

       dismiss, the parties shall meet and confer following such ruling to

       propose a case schedule. If, however, the Court is inclined to set a

       case schedule, Defendants propose the following schedule, which will

       provide sufficient time to litigate, in both this Court and the appellate

       courts, the important privilege and apex-doctrine issues that are bound

       to arise here, see infra § II.d:

          i. Initial disclosures. The parties shall make initial disclosures

              pursuant to Fed. R. Civ. P. 26(a)(1)(c) by September 18, 2023.

          ii. As set forth above in § II.a.ii., Defendants propose that fact

              discovery be completed by January 3, 2025.



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        iii. As set forth above in § II.a.ii., Defendants propose that expert

            disclosures be made no later than January 3, 2025, and expert

            discovery be completed March 14, 2025. The last day to file

            motions under R. 702 shall be April 1, 2025.

        iv. The last date for the parties to amend the pleadings or join

            parties will be December 31, 2024.

         v. Defendants at this time do not believe mediation would be

            productive in this case.

        vi. Defendants propose a deadline of December 1, 2024 for

            Motions for Judgment on the Pleadings.

        vii. Defendants propose the following schedule for Motions for

            Summary Judgment:

               1. Plaintiff’s Motion for Summary Judgment due by April

                   1, 2025;

               2. Defendants’ Combined Cross-Motion for Summary

                   Judgment and Response to Disney’s Motion due by May

                   1, 2025;

               3. Plaintiff’s Combined Response and Reply due by May

                   15, 2025;



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                          4. Defendants’ Reply to Disney’s Response due by May 29,

                             2025.

              viii. Defendants agree that scheduling the pretrial conference,

                    witness list, trial briefs, deposition designations, and final

                    objections is at this time premature and shall be as required by

                    the Court under the Court’s Pretrial Order or by other means.

                ix. Defendants oppose matters being referred to the assigned

                    magistrate judge for initial determination.

                x. Defendants’ suggested trial date is August 4, 2025.

IV.    NATURE AND BASIS OF THE PARTIES’ CLAIMS AND DEFENSES

       The principal factual and legal issues in dispute are:

          a. Plaintiff:

                 i. Whether Plaintiff’s statements about contemplated legislation,

                    including House Bill 1557, were speech protected by the First

                    Amendment;

                ii. Whether Defendants retaliated against Plaintiff for its

                    statements about contemplated legislation by:

                          1. Dissolving Reedy Creek Improvement District (“RCID”);

                          2. Establishing the Central Florida Tourism District

                             (“CFTOD”);

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               3. Voiding and impairing contracts entered into by Plaintiff

                  and RCID;

               4. Taking additional actions through and relating to CFTOD

                  to impede Plaintiff’s operations, injure Plaintiff’s

                  financial interests or reputation, or otherwise harm

                  Plaintiff;

               5. Taking additional actions to harm Plaintiff as may be

                  identified during the progress of this case; and

               6. Other matters raised in Plaintiff’s First Amended

                  Complaint.

        iii. Whether Defendants’ retaliation would dissuade a person of

            ordinary firmness from making similar statements;

        iv. Whether any non-retaliatory rationales that Defendants may

            offer for their actions are merely pretextual;

         v. Whether Defendants’ cancellation of contracts entered into by

            RCID and Plaintiff interfered with those contracts in violation

            of the Contracts Clause, Due Process Clause, and/or Takings

            Clause of the United States Constitution;

        vi. Any other facts and questions raised by the Complaint;



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        vii. Any other facts and questions raised by any responsive pleading

            by Defendants.

    b. Defendant:

          i. Whether the Court should abstain from deciding this case

            because unsettled questions of Florida law are currently being

            litigated in state court and may be dispositive of the federal

            constitutional claims raised in the complaint.

         ii. Whether the case should be dismissed under the doctrine of

            forum non conveniens because a forum-selection clause governs

            the complaint and permits suit only in Orange County state

            court.

        iii. Whether Plaintiff lacks standing to sue the State Defendants

            (Governor DeSantis and Secretary Ivey).

        iv. Whether Plaintiff’s claims against the State Defendants are

            barred by sovereign immunity.

         v. Whether Plaintiff’s claims against the Governor are barred by

            legislative immunity.

        vi. Whether the contracts at issue in the complaint (the

            Development Agreement and Restrictive Covenants) are not

            valid contracts, and as such, cannot form the basis of any

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            retaliation claim under the First Amendment or any claim under

            the Contracts Clause, Takings Clause, and/or Due Process

            Clause.

        vii. Whether the Legislative Declaration merely declares that the

            Development Agreement and Restrictive Covenants are void

            and therefore cannot support a claim under the Contracts

            Clause, Takings Clause, and/or Due Process Clause.

       viii. Whether the Development Agreement and Restrictive

            Covenants are not protected by the Contracts Clause because

            they delegate sovereign power to a private entity.

        ix. Whether Plaintiff has a property interest in the Development

            Agreement or Restrictive Covenants because they are void.

         x. If Plaintiff has a property interest in the Development

            Agreement or Restrictive Covenants, whether it is subject to

            subsequently enacted state law, which abrogates those

            agreements.

        xi. Whether or not Defendants have impaired Plaintiff’s alleged

            contract rights such that a taking has occurred.




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              xii. Whether Plaintiff is entitled to equitable relief as a matter of

                   law with regard to Plaintiff’s Takings Clause claim, for which

                   Plaintiff seeks only equitable relief.

             xiii. Whether the Legislative Declaration and Senate Bill 1604 are

                   supported by a rational basis such that they do not violate the

                   Due Process Clause.

             xiv. Whether Plaintiff’s First Amendment retaliation claims are

                   foreclosed by precedent because the allegedly illicit motives of

                   lawmakers cannot form the basis of a First Amendment claim.

              xv. Whether the First Amendment constrains Florida’s efforts to

                   reconstitute regulatory entities.

             xvi. Whether the Legislative Declaration is government speech that

                   had no adverse effect on Plaintiff.

V.    OTHER MATTERS

      At the present time, there are no additional matters the parties wish to raise

with the Court through this Report.




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Dated: June 27, 2023                    Respectfully submitted,



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